Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21              Page 1 of 31 PageID 20


                         U.S. District Court
               Northern District of Texas (Fort Worth)
   CRIMINAL DOCKET FOR CASE #: 4:21−mj−00017−BJ All Defendants

Case title: USA v. Brock                                 Date Filed: 01/11/2021

Assigned to: Magistrate Judge
Jeffrey L. Cureton

Defendant (1)
Larry Rendall Brock               represented by Brook Antonio−FPD, II
                                                 Federal Public Defender − Fort Worth
                                                 819 Taylor St
                                                 Room 9A10
                                                 Fort Worth, TX 76102
                                                 817−978−2753
                                                 Fax: 817−978−2757
                                                 Email: brook_antonio@fd.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Federal Public Defender Appointment
                                                 Bar Status: Admitted/In Good Standing

Pending Counts                                  Disposition
None

Highest Offense Level
(Opening)
None

Terminated Counts                               Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                      Disposition
18:1752(a) and 40:5104(e)(2)
Restricted Building or grounds;
and Violent Entry or disorderly
conduct




                                                                                                    1
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21                 Page 2 of 31 PageID 21



Plaintiff
USA                                          represented by J Stevenson Weimer−DOJ
                                                            US Attorney's Office
                                                            801 Cherry St
                                                            Suite 1700, Unit 4
                                                            Fort Worth, TX 76102
                                                            817/252−5200
                                                            Fax: 817−252−5455
                                                            Email: jay.weimer@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: US Attorney's Office
                                                            Bar Status: Admitted/In Good Standing

 Date Filed   # Page Docket Text
 01/10/2021        4 Arrest (Rule 5) of Larry Rendall Brock. Complaint and Warrant from District of
                     Columbia. (jah) (Entered: 01/11/2021)
 01/11/2021   1    5 ELECTRONIC Minute Entry for proceedings held before Magistrate Judge
                     Jeffrey L. Cureton: Initial Appearance re: Rule 5(c) hearing as to Larry Rendall
                     Brock held on 1/11/2021. Date of Arrest: 1/10/2021; Deft executed financial
                     affidavit; o/appointing FPD entered; Deft filed waiver of identity; Preliminary &
                     Detention Hearing set 1/14/21 at 1:30 p.m. before Magistrate Judge Cureton;
                     o/temp detention entered; Rule 5(f) written order to be filed; Rule 5(f)oral
                     admonishment will be given at next setting; upon agreement from the Gov't,
                     Court unsealed complaint; Deft remanded to custody. Attorney Appearances:
                     AUSA − Jay Weimer; Defense − Brook Antonio. (No exhibits) Time in Court −
                     :06. (Court Reporter: Digital File) (USPO Mouret.) (jah) Modified on 1/11/2021
                     (jah). (Entered: 01/11/2021)
 01/11/2021   2    7 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Larry Rendall
                     Brock. (Ordered by Magistrate Judge Jeffrey L. Cureton on 1/11/2021) (jah)
                     (Entered: 01/11/2021)
 01/11/2021   3    8 ELECTRONIC ORDER As to Larry Rendall Brock:

                      This written order is entered pursuant to Rule 5(f)(1) of the Federal Rules of
                      Criminal Procedure, and is entered by the court on the first scheduled court date
                      when both the prosecutor and defense counsel are present.

                      By this order −− issued to the prosecution and defense counsel −− the court
                      confirms the disclosure obligations of the prosecutor under Brady v. Maryland,
                      373 U.S. 83 (1963), and its progeny, and the possible consequences of violating
                      such order under applicable law. Failure to do so may result in consequences
                      such as the dismissal of the indictment or information, dismissal of individual
                      charges, exclusion of evidence or witnesses, adverse jury instructions, contempt
                      proceedings, and/or sanctions by the court. (Ordered by Magistrate Judge Jeffrey
                      L. Cureton on 1/11/2021) (jah) (Entered: 01/11/2021)
 01/11/2021   4   10 WAIVER of Rule 5(c) Hearings by Larry Rendall Brock (jah) (Entered:
                     01/11/2021)

                                                                                                          2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21                Page 3 of 31 PageID 22


01/11/2021   5   11 MOTION for Pretrial Detention filed by USA as to Larry Rendall Brock (jah)
                    (Entered: 01/11/2021)
01/11/2021   6   12 ELECTRONIC ORDER OF TEMPORARY DETENTION as to Larry Rendall
                    Brock. Detention & Preliminary Hearing set for 1/14/2021 01:30 PM before
                    Magistrate Judge Jeffrey L. Cureton. (Ordered by Magistrate Judge Jeffrey L.
                    Cureton on 1/11/2021) (jah) (Entered: 01/11/2021)
01/14/2021   7   14 ELECTRONIC Minute Entry for proceedings held before Magistrate Judge
                    Jeffrey L. Cureton: Detention & Preliminary Hearing on Rule 5(c) as to Larry
                    Rendall Brock held on 1/14/2021; Rule 5(f) admonishment given; Gov't witness
                    John Moore sworn & testified; Gov't exhibits 1−10 admitted, original returned;
                    court finds PC; deft executed PR bond & advised of conditions of pretrial
                    release; o/setting conditions of pretrial release entered; deft released on
                    conditions. Attorney Appearances: AUSA − Jay Weimer; Defense − Brook
                    Antonio. (Exhibits admitted − returned to party) Time in Court − 2:00. (Court
                    Reporter: Debbie Saenz) (USPO Mouret.) (jah) (Entered: 01/14/2021)
01/14/2021   8   16 ORDER Setting Conditions of Release as to Larry Rendall Brock (1) Deft
                    released on PR bond; Deft to next appear as directed by the Court or U.S.
                    Probation Officer; see order for specific conditions. (Ordered by Magistrate
                    Judge Jeffrey L. Cureton on 1/14/2021) (jah) (Entered: 01/14/2021)
01/14/2021   9   19 Return of Exhibits to AUSA Jay Weimer. No original exhibits remain in clerk
                    custody. (EXH−ADM flag removed) Exhibits offered by USA as to Larry
                    Rendall Brock. (jah) (Entered: 01/14/2021)




                                                                                                     3
  Case 4:21-mj-17 NEF for Docket Entry   Filed 01/10/2021 Page 1 of 1
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 4 of 31 PageID 23

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: J Stevenson Weimer−DOJ (caseview.ecf@usdoj.gov,
courtney.carden2@usdoj.gov, cynthia.hood@usdoj.gov, deborah.burson@usdoj.gov,
janise.withers@usdoj.gov, jay.weimer@usdoj.gov, jessica.sanchez@usdoj.gov,
liuva.ruiz@usdoj.gov, michelle.thom@usdoj.gov, victoria.anderson@usdoj.gov), Magistrate
Judge Jeffrey L. Cureton (kristi_verna@txnd.uscourts.gov,
margarita_koye@txnd.uscourts.gov)
−−Non Case Participants: Probation Office (txnp_edocs−pro@txnp.uscourts.gov), U.S.
Marshals Office (usms−txn−courtdocket@usdoj.gov)
−−No Notice Sent:

Message−Id:12870658@txnd.uscourts.gov
Subject:Activity in Case 4:21−mj−00017−BJ USA v. Brock Arrest − Rule 5/32.1/40
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
have docketed in this case, click here: Judges' Copy Requirements. Click here to see Judge Specific
Requirements. Unless exempted, attorneys who are not admitted to practice in the Northern District of
Texas must seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov. If
admission requirements are not satisfied within 21 days, the clerk will notify the presiding judge.

                                           U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 1/11/2021 at 3:45 PM CST and filed on 1/10/2021

Case Name:       USA v. Brock
Case Number:     4:21−mj−00017−BJ
Filer:
Document Number: No document attached
Docket Text:
 Arrest (Rule 5) of Larry Rendall Brock. Complaint and Warrant from District of Columbia.
(jah)


4:21−mj−00017−BJ−1 Notice has been electronically mailed to:

J Stevenson Weimer−DOJ jay.weimer@usdoj.gov, CaseView.ECF@usdoj.gov,
Courtney.Carden2@usdoj.gov, Cynthia.Hood@usdoj.gov, Jessica.Sanchez@usdoj.gov,
Liuva.Ruiz@usdoj.gov, Victoria.Anderson@usdoj.gov, deborah.burson@usdoj.gov,
janise.withers@usdoj.gov, michelle.thom@usdoj.gov

4:21−mj−00017−BJ−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will only serve notice of court Orders and Judgments by mail as required by
the federal rules.




                                                                                                        4
  Case 4:21-mj-17 NEF for Docket Entry 1 Filed 01/11/2021 Page 1 of 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 5 of 31 PageID 24

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: Brook Antonio−FPD, II (belinda_partida@fd.org, brook_antonio@fd.org,
norma_field@fd.org, patricia_tovar@fd.org, sara_nunez@fd.org, txn_confluence@fd.org), J
Stevenson Weimer−DOJ (caseview.ecf@usdoj.gov, courtney.carden2@usdoj.gov,
cynthia.hood@usdoj.gov, deborah.burson@usdoj.gov, janise.withers@usdoj.gov,
jay.weimer@usdoj.gov, jessica.sanchez@usdoj.gov, liuva.ruiz@usdoj.gov,
michelle.thom@usdoj.gov, victoria.anderson@usdoj.gov), Magistrate Judge Jeffrey L. Cureton
(kristi_verna@txnd.uscourts.gov, margarita_koye@txnd.uscourts.gov)
−−Non Case Participants: Probation Office (txnp_edocs−pro@txnp.uscourts.gov)
−−No Notice Sent:

Message−Id:12870689@txnd.uscourts.gov
Subject:Activity in Case 4:21−mj−00017−BJ USA v. Brock Initial Appearance
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
have docketed in this case, click here: Judges' Copy Requirements. Click here to see Judge Specific
Requirements. Unless exempted, attorneys who are not admitted to practice in the Northern District of
Texas must seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov. If
admission requirements are not satisfied within 21 days, the clerk will notify the presiding judge.

                                           U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 1/11/2021 at 3:49 PM CST and filed on 1/11/2021

Case Name:       USA v. Brock
Case Number:     4:21−mj−00017−BJ
Filer:
Document Number: 1(No document attached)
Docket Text:
 ELECTRONIC Minute Entry for proceedings held before Magistrate Judge Jeffrey L.
Cureton: Initial Appearance re: Rule 5(c) hearing as to Larry Rendall Brock held on 1/11/2021.
Date of Arrest: 1/10/2021; Deft executed financial affidavit; o/appointing FPD entered; Deft
filed waiver of identity; Preliminary & Detention Hearing set 1/14/21 at 1:30 p.m. before
Magistrate Judge Cureton; o/temp detention entered; Rule 5(f) written order to be filed; Rule
5(f)oral admonishment will be given at next setting; Deft remanded to custody. Attorney
Appearances: AUSA − Jay Weimer; Defense − Brook Antonio. (No exhibits) Time in Court −
:06. (Court Reporter: Digital File) (USPO Mouret.) (jah)


4:21−mj−00017−BJ−1 Notice has been electronically mailed to:

J Stevenson Weimer−DOJ jay.weimer@usdoj.gov, CaseView.ECF@usdoj.gov,
Courtney.Carden2@usdoj.gov, Cynthia.Hood@usdoj.gov, Jessica.Sanchez@usdoj.gov,
Liuva.Ruiz@usdoj.gov, Victoria.Anderson@usdoj.gov, deborah.burson@usdoj.gov,
janise.withers@usdoj.gov, michelle.thom@usdoj.gov

                                                                                                        5
  Case 4:21-mj-17 NEF for Docket Entry 1 Filed 01/11/2021 Page 2 of 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 6 of 31 PageID 25


Brook Antonio−FPD, II brook_antonio@fd.org, TXN_confluence@fd.org, belinda_partida@fd.org,
norma_field@fd.org, patricia_tovar@fd.org, sara_nunez@fd.org

4:21−mj−00017−BJ−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will only serve notice of court Orders and Judgments by mail as required by
the federal rules.




                                                                                                        6
 Case 4:21-mj-00017-BJ Document 2 Filed 01/11/21 Page 1 of 1 PageID 1
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 7 of 31 PageID 26




                                                                          7
  Case 4:21-mj-17 NEF for Docket Entry 3 Filed 01/11/2021 Page 1 of 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 8 of 31 PageID 27

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: Brook Antonio−FPD, II (belinda_partida@fd.org, brook_antonio@fd.org,
norma_field@fd.org, patricia_tovar@fd.org, sara_nunez@fd.org, txn_confluence@fd.org), J
Stevenson Weimer−DOJ (caseview.ecf@usdoj.gov, courtney.carden2@usdoj.gov,
cynthia.hood@usdoj.gov, deborah.burson@usdoj.gov, janise.withers@usdoj.gov,
jay.weimer@usdoj.gov, jessica.sanchez@usdoj.gov, liuva.ruiz@usdoj.gov,
michelle.thom@usdoj.gov, victoria.anderson@usdoj.gov), Magistrate Judge Jeffrey L. Cureton
(kristi_verna@txnd.uscourts.gov, margarita_koye@txnd.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:12870737@txnd.uscourts.gov
Subject:Activity in Case 4:21−mj−00017−BJ USA v. Brock Rule 5(f)(1) Order
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
have docketed in this case, click here: Judges' Copy Requirements. Click here to see Judge Specific
Requirements. Unless exempted, attorneys who are not admitted to practice in the Northern District of
Texas must seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov. If
admission requirements are not satisfied within 21 days, the clerk will notify the presiding judge.

                                           U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 1/11/2021 at 3:54 PM CST and filed on 1/11/2021

Case Name:       USA v. Brock
Case Number:     4:21−mj−00017−BJ
Filer:
Document Number: 3(No document attached)
Docket Text:
ELECTRONIC ORDER As to Larry Rendall Brock:

This written order is entered pursuant to Rule 5(f)(1) of the Federal Rules of Criminal
Procedure, and is entered by the court on the first scheduled court date when both the
prosecutor and defense counsel are present.

By this order −− issued to the prosecution and defense counsel −− the court confirms the
disclosure obligations of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny, and the possible consequences of violating such order under applicable law.
Failure to do so may result in consequences such as the dismissal of the indictment or
information, dismissal of individual charges, exclusion of evidence or witnesses, adverse
jury instructions, contempt proceedings, and/or sanctions by the court. (Ordered by
Magistrate Judge Jeffrey L. Cureton on 1/11/2021) (jah)


4:21−mj−00017−BJ−1 Notice has been electronically mailed to:

                                                                                                        8
  Case 4:21-mj-17 NEF for Docket Entry 3 Filed 01/11/2021 Page 2 of 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 9 of 31 PageID 28


J Stevenson Weimer−DOJ jay.weimer@usdoj.gov, CaseView.ECF@usdoj.gov,
Courtney.Carden2@usdoj.gov, Cynthia.Hood@usdoj.gov, Jessica.Sanchez@usdoj.gov,
Liuva.Ruiz@usdoj.gov, Victoria.Anderson@usdoj.gov, deborah.burson@usdoj.gov,
janise.withers@usdoj.gov, michelle.thom@usdoj.gov

Brook Antonio−FPD, II brook_antonio@fd.org, TXN_confluence@fd.org, belinda_partida@fd.org,
norma_field@fd.org, patricia_tovar@fd.org, sara_nunez@fd.org

4:21−mj−00017−BJ−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will only serve notice of court Orders and Judgments by mail as required by
the federal rules.




                                                                                                        9
  Case 4:21-mj-00017-BJ Document 4 Filed 01/11/21 Page 1 of 1 PageID 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 10 of 31 PageID 29




                                                                           10
  Case 4:21-mj-00017-BJ Document 5 Filed 01/11/21 Page 1 of 1 PageID 3
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 11 of 31 PageID 30




                                                                           11
  Case 4:21-mj-17 NEF for Docket Entry 6 Filed 01/11/2021 Page 1 of 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 12 of 31 PageID 31

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: Brook Antonio−FPD, II (belinda_partida@fd.org, brook_antonio@fd.org,
norma_field@fd.org, patricia_tovar@fd.org, sara_nunez@fd.org, txn_confluence@fd.org), J
Stevenson Weimer−DOJ (caseview.ecf@usdoj.gov, courtney.carden2@usdoj.gov,
cynthia.hood@usdoj.gov, deborah.burson@usdoj.gov, janise.withers@usdoj.gov,
jay.weimer@usdoj.gov, jessica.sanchez@usdoj.gov, liuva.ruiz@usdoj.gov,
michelle.thom@usdoj.gov, victoria.anderson@usdoj.gov), Magistrate Judge Jeffrey L. Cureton
(kristi_verna@txnd.uscourts.gov, margarita_koye@txnd.uscourts.gov)
−−Non Case Participants: Probation Office (txnp_edocs−pro@txnp.uscourts.gov), U.S.
Marshals Office (usms−txn−courtdocket@usdoj.gov)
−−No Notice Sent:

Message−Id:12870774@txnd.uscourts.gov
Subject:Activity in Case 4:21−mj−00017−BJ USA v. Brock Order of Detention
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
have docketed in this case, click here: Judges' Copy Requirements. Click here to see Judge Specific
Requirements. Unless exempted, attorneys who are not admitted to practice in the Northern District of
Texas must seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov. If
admission requirements are not satisfied within 21 days, the clerk will notify the presiding judge.

                                           U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 1/11/2021 at 3:59 PM CST and filed on 1/11/2021

Case Name:       USA v. Brock
Case Number:     4:21−mj−00017−BJ
Filer:
Document Number: 6(No document attached)
Docket Text:
 ELECTRONIC ORDER OF TEMPORARY DETENTION as to Larry Rendall Brock. Detention &
Preliminary Hearing set for 1/14/2021 01:30 PM before Magistrate Judge Jeffrey L. Cureton.
(Ordered by Magistrate Judge Jeffrey L. Cureton on 1/11/2021) (jah)


4:21−mj−00017−BJ−1 Notice has been electronically mailed to:

J Stevenson Weimer−DOJ jay.weimer@usdoj.gov, CaseView.ECF@usdoj.gov,
Courtney.Carden2@usdoj.gov, Cynthia.Hood@usdoj.gov, Jessica.Sanchez@usdoj.gov,
Liuva.Ruiz@usdoj.gov, Victoria.Anderson@usdoj.gov, deborah.burson@usdoj.gov,
janise.withers@usdoj.gov, michelle.thom@usdoj.gov

Brook Antonio−FPD, II brook_antonio@fd.org, TXN_confluence@fd.org, belinda_partida@fd.org,
norma_field@fd.org, patricia_tovar@fd.org, sara_nunez@fd.org



                                                                                                        12
  Case 4:21-mj-17 NEF for Docket Entry 6 Filed 01/11/2021 Page 2 of 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 13 of 31 PageID 32

4:21−mj−00017−BJ−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will only serve notice of court Orders and Judgments by mail as required by
the federal rules.




                                                                                                        13
  Case 4:21-mj-17 NEF for Docket Entry 7 Filed 01/14/2021 Page 1 of 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 14 of 31 PageID 33

MIME−Version:1.0
From:ecf_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
Bcc:
−−Case Participants: Brook Antonio−FPD, II (belinda_partida@fd.org, brook_antonio@fd.org,
norma_field@fd.org, patricia_tovar@fd.org, sara_nunez@fd.org, txn_confluence@fd.org), J
Stevenson Weimer−DOJ (caseview.ecf@usdoj.gov, courtney.carden2@usdoj.gov,
cynthia.hood@usdoj.gov, deborah.burson@usdoj.gov, janise.withers@usdoj.gov,
jay.weimer@usdoj.gov, jessica.sanchez@usdoj.gov, liuva.ruiz@usdoj.gov,
michelle.thom@usdoj.gov, victoria.anderson@usdoj.gov), Magistrate Judge Jeffrey L. Cureton
(kristi_verna@txnd.uscourts.gov, margarita_koye@txnd.uscourts.gov)
−−Non Case Participants: Probation Office (txnp_edocs−pro@txnp.uscourts.gov)
−−No Notice Sent:

Message−Id:12879989@txnd.uscourts.gov
Subject:Activity in Case 4:21−mj−00017−BJ USA v. Brock Detention Hearing
Content−Type: text/html

If you need to know whether you must send the presiding judge a paper copy of a document that you
have docketed in this case, click here: Judges' Copy Requirements. Click here to see Judge Specific
Requirements. Unless exempted, attorneys who are not admitted to practice in the Northern District of
Texas must seek admission promptly. Forms and Instructions found at www.txnd.uscourts.gov. If
admission requirements are not satisfied within 21 days, the clerk will notify the presiding judge.

                                           U.S. District Court

                                       Northern District of Texas

Notice of Electronic Filing


The following transaction was entered on 1/14/2021 at 5:23 PM CST and filed on 1/14/2021

Case Name:       USA v. Brock
Case Number:     4:21−mj−00017−BJ
Filer:
Document Number: 7(No document attached)
Docket Text:
 ELECTRONIC Minute Entry for proceedings held before Magistrate Judge Jeffrey L.
Cureton: Detention & Preliminary Hearing on Rule 5(c) as to Larry Rendall Brock held on
1/14/2021; Rule 5(f) admonishment given; Gov't witness John Moore sworn & testified; Gov't
exhibits 1−10 admitted, original returned; court finds PC; deft executed PR bond & advised
of conditions of pretrial release; o/setting conditions of pretrial release entered; deft
released on conditions. Attorney Appearances: AUSA − Jay Weimer; Defense − Brook
Antonio. (Exhibits admitted − returned to party) Time in Court − :00. (Court Reporter: Debbie
Saenz) (USPO Mouret.) (jah)


4:21−mj−00017−BJ−1 Notice has been electronically mailed to:

J Stevenson Weimer−DOJ jay.weimer@usdoj.gov, CaseView.ECF@usdoj.gov,
Courtney.Carden2@usdoj.gov, Cynthia.Hood@usdoj.gov, Jessica.Sanchez@usdoj.gov,
Liuva.Ruiz@usdoj.gov, Victoria.Anderson@usdoj.gov, deborah.burson@usdoj.gov,
janise.withers@usdoj.gov, michelle.thom@usdoj.gov

                                                                                                        14
  Case 4:21-mj-17 NEF for Docket Entry 7 Filed 01/14/2021 Page 2 of 2
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 15 of 31 PageID 34


Brook Antonio−FPD, II brook_antonio@fd.org, TXN_confluence@fd.org, belinda_partida@fd.org,
norma_field@fd.org, patricia_tovar@fd.org, sara_nunez@fd.org

4:21−mj−00017−BJ−1 The CM/ECF system has NOT delivered notice electronically to the names listed
below. The clerk's office will only serve notice of court Orders and Judgments by mail as required by
the federal rules.




                                                                                                        15
  Case 4:21-mj-00017-BJ Document 8 Filed 01/14/21 Page 1 of 3 PageID 4
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 16 of 31 PageID 35




                                                                           16
  Case 4:21-mj-00017-BJ Document 8 Filed 01/14/21 Page 2 of 3 PageID 5
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 17 of 31 PageID 36




                                                                           17
  Case 4:21-mj-00017-BJ Document 8 Filed 01/14/21 Page 3 of 3 PageID 6
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 18 of 31 PageID 37




                                                                           18
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 1 of 13 PageID 7
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 19 of 31 PageID 38




                                                                           19
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 2 of 13 PageID 8
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 20 of 31 PageID 39




                                                                           20
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 3 of 13 PageID 9
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 21 of 31 PageID 40




                                                                           21
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 4 of 13 PageID 10
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 22 of 31 PageID 41




                                                                           22
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 5 of 13 PageID 11
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 23 of 31 PageID 42




                                                                           23
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 6 of 13 PageID 12
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 24 of 31 PageID 43




                                                                           24
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 7 of 13 PageID 13
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 25 of 31 PageID 44




                                                                           25
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 8 of 13 PageID 14
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 26 of 31 PageID 45




                                                                           26
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 9 of 13 PageID 15
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 27 of 31 PageID 46




                                                                           27
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 10 of 13 PageID 16
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 28 of 31 PageID 47




                                                                           28
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 11 of 13 PageID 17
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 29 of 31 PageID 48




                                                                           29
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 12 of 13 PageID 18
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 30 of 31 PageID 49




                                                                           30
 Case 4:21-mj-00017-BJ Document 9 Filed 01/14/21 Page 13 of 13 PageID 19
Case 4:21-mj-00017-BJ Document 10 Filed 01/14/21 Page 31 of 31 PageID 50




                                                                           31
